                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 IN RE: REALPAGE, INC., RENTAL                 )    NO. 3:23-cv-03071
 SOFTWARE ANTITRUST                            )    MDL No. 3071
 LITIGATION (NO. II)                           )
                                               )    THIS DOCUMENT RELATES TO:
                                               )
                                               )              ALL CASES


                                          ORDER

       Defendants’ Motion to Revise Their Liaison Counsel and Steering Committee (Doc. No.

851) is GRANTED.

       Karen Hoffman Lent of Skadden, Arps, Slate, Meagher & Flom LLP is substituted in place

of Michael Maddigan of Hogan Lovells US LLP and David D. Cross of Morrison & Foerster LLP

is substituted in place of Samuel P. Funk of Sims Funk PLC.

       IT IS SO ORDERED.


                                                   ____________________________________
                                                   WAVERLY D. CRENSHAW, JR.
                                                   CHIEF UNITED STATES DISTRICT JUDGE




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